               Case 8:22-mj-00285-DUTY Document 2 Filed 04/20/22 Page 1 of 1 Page ID #:2
Submit this form by e-mail to:                                                                           FILED -SOUTHERN DIVISION
                                                                                                         CLERK, U.S. DISTRICT COURT   ~
CrimIntakeCourtDocs-LAC+~cacd.uscourts.gov For Los Angeles criminal duty.                                                             ,
CrimIntakeCourtDocs-SA[a~cacd.uscourts.gov For Santa Ana criminal duty.                                       ~[~ ~ O rinr~r~
                                                                                                              ~~~-~~     LULL
CrimIntakeCourtDocs-RSC~cacd.uscourts.gov For Riverside criminal duty.                                                                i
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA.
                                               UNITED STATES DISTRICT COURT                          BY                     DEPUTI~
                                                                                                                                 ~~
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER: $• 22.- MJ -0~2~SS
UNITED STATES OF AMERICA
                                                              PLAINTIFF          ~;ZZ- 1,y)J LL~
                    V.


  ~.r..e.w~.~ I--~I,~ ~~                                                              REPORT COMMENCING CRIMINAL
                                                                                                     ACTION
 USMS#                                                   DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1• The defendant was arrested in this district on               ''~ 'L?j             at    ;~~~AM ❑ PM
    or
                                                          -                  ~    n
    The defendant was arrested in the                          District of                    on               at         ❑ AM ❑ PM

2. The above named defendant is currently hospitalized and cannot be transported to court for arraignment or
    any other preliminary proceeding:             ~ Yes          ~No

3. Defendant is in U.S. Marshals Service lock-up (in this court building):                         Yes       ❑ No

4. Charges under which defendant has been booked:

         ~ U                       c                                                                        v~v~1'a~vh'a`YlS
5. Offense charged is a:              Felony         ❑Minor Offense                Q Petty Offense           ❑Other Misdemeanor

6. Interpreter Required: ~No                  ❑Yes            Language:

7• Year of Birth: IRg

8. Defendant has retained counsel:                ~ No
         Yes      Name:                      ~~                                       Phone Number:(,Q~~-~~~•~~

9• Name of Pretrial Services Officer notified:             U 1~~~ U l ~~yQ~S

10. Remarks (if any):

11. Name: ~~~ ~'~~ ~i~''~m                                           (please print)

12. Office Phone Number: ~(J~~ • ~~~ • ~(~.5~                                              13. Agency: ~l

14. Signature:                                                                             15. Date: ~I~I

CR-64 (09/20)                                     REPORT COMMENCING CRIMINAL ACTION
